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                                                 UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION


                        DONNA POPLAR,

                              Plaintiff,                              CASE NO: 2:21-cv-12568-VAR-JJCG
                        v
                                                                      HON. VICTORIA A. ROBERTS
                        GENESEE COUNTY ROAD
                        COMMISSION and FRED F. PEIVANDI, in
                        his individual Capacity,

                              Defendants.

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                                                    STATEMENT OF MATERIAL FACTS

                              Defendant Genesee County Road Commission and Defendant Fred Peivandi submit

                        the following Statement of Material Facts, which is intended to accompany their Motion for
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                        Summary Judgment in the above-captioned case.

                               1.     Defendant Genesee County Road Commission is the governmental entity that

                        maintains its county’s roads and bridges. (Peivandi 27).

                               2.     The GCRC is led by its Board, which holds authority to contract business, and

                        which provides strategic direction to the GCRC and establishes its policies. (Mandelaris 6,

                        10; MCL 224.9(1)).

                               3.     The Board indirectly manages the GCRC through its appointment and

                        supervision of the GCRC’s Managing Director, who controls the GCRC’s day-to-day

                        operations and has sole authority to hire, fire, and discipline employees. (Mandelaris 7, 54;

                        Peivandi 26, 52).

                               4.     Defendant Fred Peivandi has served as the GCRC’s Managing Director since

                        the Board unanimously appointed him to the position in July 2018. (Peivandi 15; Ex. 6).

                               5.     Plaintiff Donna Poplar was hired by the GCRC in October of 2016 as its HR

                        Director. (Poplar 27).

                               6.     Poplar and the GCRC executed three employment agreements within the first
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                        few months of her employment, but all were signed only by the Managing Director at the time.

                        (Exs. 11, 12, 14). The Managing Director does not have authority to bind the GCRC to an

                        employment agreement with any employee without prior authorization by the GCRC Board.

                        (Mandelaris 76-78).




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                               7.      She had prior served as the Executive Director for the Genesee County

                        Community Action Agency (“GCCAA”) and the HR Director for the City of Flint, Michigan. (Id.

                        9, 14-16).

                               8.      She was ultimately terminated from each position – from the GCCAA in 1999

                        for an “unknown” reason (Poplar 16; Ex. 7), and from Flint in 2011 by the then-incoming

                        emergency manager. (Id. 10-12).

                               9.      Poplar’s termination from the GCCAA occurred around the time she was

                        convicted of a felony – later expunged – for “receiving money under false pretenses” based

                        on acts which occurred in her final days with the GCCAA. (Poplar II 104-111).

                               10.     Poplar spent five years unemployed and seeking work after her employment

                        was terminated from the City of Flint. (Poplar III 70-73, 150; Poplar 17-20; Ex. 10).

                               11.     Poplar filed an unsuccessful age discrimination lawsuit against the City of Flint

                        based on allegations related to the end of her employment with the City. (Poplar III 70-73,

                        150; Poplar 17-20; Ex. 10).

                               12.     When Poplar interviewed with Daly for the GCRC’s HR Director job, she
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                        disclosed her visual disability to him, which represented the first time the GCRC became

                        aware of her disability. (Poplar 124).

                               13.     Reading and computer screen work are each essential functions of the HR

                        Director job. (Ex. 41).




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                               14.    Poplar spoke with Daly on her first day at work about getting a closer parking

                        spot, adjusting her office lighting, purchasing an enlarged computer screen, and hiring an

                        administrative assistant to help her. (Poplar 125).

                               15.    Poplar admits she knew of her alleged need for an administrative assistant in

                        2016. (Poplar 125-127).

                               16.    Poplar stressed that her primary motivation in asking for the assistant on her

                        first day was for disability accommodation purposes. (Poplar 127).

                               17.    In January of 2017, Poplar and Daly submitted documentation to the Board

                        requesting funding for a HR assistant. (Ex. 13). The documents do not mention Poplar’s need

                        for an accommodation. (Poplar 128-129, 132, 134).

                               18.    Daly testified he’d received complaints from employees about Peivandi “being

                        unreasonable and unfair with some of his requirements,” but had never seen any evidence

                        Peivandi held animus towards African-Americans despite directly supervising him for 12

                        years. (Daly 13, 32).

                               19.    Poplar raised the issue of hiring an HR administrative assistant with Peivandi
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                        by emailing him on August 27, 2018, and asking for an administrative assistant as an

                        accommodation for her disability. (Ex. 17). Peivandi replied by asking her for additional

                        information. (Ex. 18).

                               20.    Poplar met twice with Peivandi to discuss the administrative assistant position

                        after August 27, 2018, but secretly recorded the second meeting. In the recording, Poplar




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                        attempts to get Peivandi to admit he’d made the offensive comment she’d said he did. (Ex.

                        19, 2-3, 13). Peivandi denies making the comment and insists he said the GCRC was “not

                        going to hire somebody that’s going to take one and a half persons to do the job or two people

                        to do the job.” (Id., 4-5). He assures Poplar he supported creation of a part-time position and

                        would perform a needs study. (Id., 11, 14-15).

                               21.    In December 2018, Peivandi asked the Board to create a part-time position for

                        Poplar, but he and she disagreed about its starting wage. (Exs. 20, 21).

                               22.    Poplar asked the Board in a public meeting to override Peivandi’s

                        recommendation about the wage rate. (Ex. 22).

                               23.    On February 4, 2019, Poplar filed an EEOC charge against the GCRC, alleging

                        Peivandi discriminated against her because of her disability and her race, including claims

                        that Peivandi had denied her an accommodation. (Ex. 2). She received her right to sue letter

                        on August 5, 2021. (Ex. 39).

                               24.    Three months later, Poplar informed Peivandi she’d ask the Board for a full-

                        time assistant. (Ex. 24; Poplar 145). On August 8, 2019, Peivandi told her that he’d reviewed
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                        her request but could not support it. (Id.) Poplar again asked the Board to intervene, and on

                        August 27, 2019, the Board voted 3-2 to expand the position to full-time. (Exs. 25, 26).

                               25.    Poplar’s deposition was taken on September 21 and October 8 of 2020 in the

                        Anthony Branch lawsuit against the GCRC. (Poplar II).




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                               26.       Poplar asked to begin her testimony in this deposition by making an opening

                        “statement for the record” in which she said she was “reluctantly participating” in the

                        deposition because she feared “being subjected to reprisal” and “possible termination of

                        employment” from her testimony. (Poplar II 7).

                               27.       Poplar’s testimony in this deposition included the following quotes:

                         “…Fred has made it known to me that he didn’t trust me, and he has made numerous
                          references to wanting me fired… I do know that Fred has pretty much let me know in many
                          ways that he doesn’t want me here.” (Poplar II 101, 103).

                         “…Fred has a very retaliatory personality; I am very concerned… as Fred is watching this
                          deposition, that he would take everything that I’m saying personally and that he’s going to
                          be very revengeful towards it.” (Id. 101-102).

                         “I think Fred feels... he can do what he wants. He often says he’s the Managing Director…
                          I think Fred’s anger and dislike towards African-American people, especially African-
                          American men, is predicated around his cultured beliefs... [and] the fact that he resents
                          that his daughter had two children by an African-American man that he despised... He’ll
                          talk about their Iranian side, but he won’t talk about their black side.” (Id. 102-103).

                         “…I have [] stated my concerns because I do not believe that the Board that is sitting now
                          is prepared to make the decision that they need to make concerning Fred Peivandi.” (Id.).
                               28.       Poplar testified that Peivandi spoke with her after her deposition, when she

                        claimed Peivandi “felt that I was lying on him” and “took it personal,” which made Poplar “quite
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                        upset.” (Poplar 211). Peivandi admitted he was “[p]ersonally upset because she brought up

                        my personal [life]… [a]bout my daughter [and] my grandkids” during her deposition despite

                        their irrelevance to that case, but stressed he “didn’t mix that with my professional side”

                        towards Poplar. He told Poplar he didn’t appreciate her testimony about of his family.

                        (Peivandi 48).



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                                29.    Poplar filed her first complaint with the Board on January 28, 2021, alleging

                        Peivandi subjected her to a “hostile atmosphere in her working environment” that had begun

                        in “early 2018.” (Ex. 4). In the complaint, she asked the Board to investigate Peivandi, before

                        concluding: “Today, I feel like I am the George Floyd of GCRC, and Fred Peivandi has his

                        knee on my neck, and I am crying out “I Can Not Breath[e].” (Id.) (emphasis added).

                                30.    The Board voted unanimously for attorney Craig Lange to investigate the

                        circumstances behind Poplar’s complaint. (Ex.28).

                                31.    Lange investigated for two months, interviewed thirteen GCRC employees, and

                        reviewed thousands of documents, many of which came from Poplar. (Poplar 212; Peivandi

                        43; Ex. 1, 3-4). Poplar admitted she had no reason to believe Lange held any bias against

                        her, African-Americans, or employees who might engage in protected activity. (Poplar 217-

                        218).

                                32.    Poplar filed her second EEOC charge against the GCRC on May 10, 2021,

                        claiming discrimination and retaliation. (Ex. 3).

                                33.    Lange released his report through MCRCSIP to the Board on April 26, 2021.
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                        (Ex. 1).

                                34.    Elkins and Dickerson gave Poplar a letter summarizing the investigation’s

                        conclusions. (Poplar 218; Ex. 30).

                                35.    Peivandi drafted directives to Poplar on July 1, 2021, instructing Poplar to: (1)

                        raise concerns about work-related matters with him before discussing them with others; (2)




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                        keep him informed whenever she spoke with Commissioners about work-related matters; (3)

                        perform work as assigned; (4) defer all final hiring and firing decisions to the Managing

                        Director; and (5) implement the Managing Director’s budget decisions. (Ex. 31). Poplar claims

                        she is “not sure” if the directives are lawful or valid. (Poplar 228-231). Poplar stated she

                        complied to the “best of her ability.” (Id., 231).

                               36.     Peivandi has testified that he provided Poplar with the directives because he

                        felt he “had to do something” based on Lange’s report’s conclusions, because he “wanted to

                        have something in writing for her to understand who is the boss here,” and because he hoped

                        they would “fix our working relationship.” (Peivandi 44, 130-131).

                               37.     On August 16, 2021, Poplar emailed Peivandi and recommended the GCRC

                        reimpose masking requirements. (Ex. 32).

                               38.     Peivandi responded that he did “not wish to mandate that GCRC staff and

                        visitors wear masks” at that time, but that Poplar should make staff “aware of the risk level…

                        so that they can make their own personal protection decision.” (Id.).

                               39.     Poplar    wrote     and    sent       out   a   memorandum   entitled   “MIOSHA
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                        Recommendations.” (Ex. 33). Poplar sent this memorandum pursuant to her job duties as

                        HR Director. (Poplar 281). Poplar has admitted that this memorandum is and contains all

                        “speech” upon which her First Amendment retaliation claim relies. (Poplar 250).

                               40.     Peivandi suspended Poplar for two weeks “because she did not follow my

                        directives” on August 19, 2021, with Poplar to return to work September 6, 2021. (Id.; Ex. 34).




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                                41.    Poplar filed a second complaint with the Board on August 26, 2021, again

                        alleging discrimination, harassment, and retaliation from Peivandi. (Ex. 5). She asked for “an

                        unbiased investigation of the situation,” reiterated her complaints, baselessly suggested

                        “[t]ampering” occurred with Lange’s investigation and accused the Board of “grossly failed to

                        protect” her from Peivandi. (Id.).

                                42.    Peivandi issued the Poplar a Notice of Administrative Leave on September 6,

                        2021. (Ex. 35).

                                43.    Peivandi testified that he placed Poplar on paid administrative leave for the

                        following reasons: (1) to provide the Board time to “let them decide how to handle this case;”

                        (2) to create a “cooling off period between me and her;” and (3) to allow the Board an

                        opportunity to investigate if they wished to accede to her requests. (Peivandi 128-129, 130-

                        131).

                                44.    On September 28, 2021, the GCRC received correspondence from Poplar’s

                        legal counsel asking to hold settlement discussions. (Ex. 36).

                                45.    At the Board’s October 6, 2021 meeting, the Board granted Poplar’s request
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                        and met with Poplar and her attorney on October 13. (Ex. 37).

                                46.    Legal counsel for Poplar and the GCRC corresponded to negotiate peace, but

                        they hit impasse in early November.

                                47.    On November 2, 2021, the Board voted for Poplar to return to work, but with

                        Poplar reporting directly to Dellaposta (who’d already been appointed to directly supervise




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                        the other directors in the new year anyway) instead. (Ex. 38; Poplar 182). The Board made

                        this decision before this lawsuit was filed.

                               48.     In October 2021, Peivandi and Dellaposta promoted Monica Pearson to Benefit

                        Coordinator. They modified the Benefit Coordinator job description to require Pearson to

                        continue helping Poplar in her new role. (Peivandi 64; Dellaposta 25; Pearson 38).

                               49.     Pearson, in her role as Administrative Assistant, had been intentionally cross-

                        trained to perform duties co-extensive with former Senior Benefit Coordinator Cherry Grant,

                        who Poplar felt was soon to retire, virtually from the beginning of Pearson’s employment.

                        (Pearson 12, 32, 38-39; Dellaposta 24).

                               50.     The timing of the promotion (in October of 2021) is more temporally proximate

                        to Grant’s retirement in November of 2021 than it was to Poplar’s August complaint. (Pearson

                        32-33).



                        Dated: December 9, 2022                               /s/ Andrew A. Cascini
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